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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division
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UNITED sTATEs oF AMERICA y W‘D- Ot

_v- Case No. 2:05cr20227-Ma

CLAUDY REDMOND

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Office, Probal:ion Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Alraignment in the United States Courthouse and
Federal Building in Courtroorn Courtroom # M-3 on Wednesday July 6, 2005 @ 9:30am.

ADD|T|ONAL COND|TIONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
comrnunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Finaocial Conditions

0 Execute a bond in the amount of $10,000.0|] or an agreement to forfeit upon failure to appear as required,
and post with the following amount of money to be deposited into the registry of the Court: 10%.

0 report as directed by the Pretrial Services Offlce.

0 Refrain from possessing a firearm, destructive device, or other dangerous weapon.

0 Refrain from excessive use of alcohol.

0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed"
writing by a licensed medical practitioner.

 
 
 

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AO199A Order Setting Cond|tions ct Re|ease 55 and/or 32(b) FRCIP On

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0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include mine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing

ADVICE OF PENALTIES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALTIES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a F ederal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a Witness, victim or
infonnant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both_
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

AO 199)\ Order Setting Conditions of Re|ease -2-

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ACKNOWLEDGMENT OF DEFENDANT

I acknowledge thatl am the defendant in this case and thatI am aware of the conditions of release l promise
to obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed l am aware

of the penalties and sanctions set forth above.
U~/G`.HQ;\;\ v‘

Signatur of Defendant

Claudy Redmond
888 Evergreen Street
Memphis, TN 38127
(901) 278-3071

DlRECTlONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Of`ficer that the defendant has posted bond and/or complied with all other conditions for release The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

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Date: June 23, 2005 . h

S. THOMAS ANDERSON
UNITED S'I`ATES MAGISTRATE JUDGE

Ao 199A order setting commons of Release -3-

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20227 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

